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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW HAMPSHIRE

____________________________________
United States of America,           )
                                     )
      Plaintiff,                     )
                                     )         Case No. 06-CV-00354-PB
vs.                                 )
                                     )         Judge Paul J. Barbadoro
General Electric Company,            )
                                     )
      Defendant.                     )


          JOINT DEPOSITION DESIGNATIONS FOR JAMES E. GIRARD
                        AND RICHARD GRANITO




  JAMES E GIRARD            Jul 18, 2007
      Start     End         Party
  1         1          US Designation
  1         1          GE Designation
  2:1       2:17       GE Designation
  5:1       5:7        GE Designation
  6:7       6:11       GE Designation
  6:23      7:6        GE Designation
  7:7       8:15       US Designation
  8:16      9:24       GE Designation
  10:12     11:21      GE Designation
  10:12     10:14      US Designation
  14:2      14:21      GE Designation
  15:10     15:15      US Designation
  15:16     17:22      GE Designation
  18:12     21:11      GE Designation
  18:12     18:17      US Designation
  20:19     20:23      US Designation
  21:12     21:14      US Designation
  21:21     22:1       US Designation
  26:8      28:10      GE Designation
  30:1      30:25      GE Designation
  30:14     30:25      US Designation
  31:15     31:24      GE Designation
  31:25     32:9       US Designation
  32:17     32:21      US Designation
  33:11     34:7       GE Designation
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35:3       35:11    US Designation
35:22      35:24    US Designation
36:3       36:7     GE Designation
36:16      36:21    US Designation
40:1       42:7     GE Designation
43:16      43:23    GE Designation
43:24      44:3     US Designation
44:10      44:19    GE Designation
44:21      45:1     US Designation
47:3       47:7     US Designation
47:15      47:22    US Designation
49:17      50:5     US Designation
49:17      50:5     GE Designation
55:17      55:20    US Designation
56:15      56:20    US Designation
56:22      57:4     GE Designation
58:19      59:1     GE Designation
60:25      61:20    GE Designation
62:7       62:15    GE Designation
63:13      63:15    US Designation
63:16      64:13    GE Designation
65:11      65:19    US Designation
65:21      66:1     US Designation
67:22      68:21    US Designation
69:7       69:14    US Designation
71:15      72:3     US Designation
72:14      73:16    US Designation
84:21      85:23    US Designation
87:13      87:18    US Designation
88:22      89:3     US Designation
89:5       91:16    GE Designation
93:24      94:1     US Designation
94:2       96:14    GE Designation
98:7       99:4     GE Designation
100:19     101:11   US Designation
102:6      102:22   US Designation
104:3      104:7    US Designation
106:20     107:22   GE Designation
109:20     110:5    GE Designation
110:21     111:3    US Designation
113:17     114:20   GE Designation
118:7      118:10   US Designation
118:17     118:21   US Designation
119:16     120:12   GE Designation
122:1      125:20   GE Designation
123:18     123:19   US Designation
124:19     125:6    US Designation
126:7      126:11   US Designation
127:14     127:17   US Designation
127:18     128:11   GE Designation
139:12     140:6    US Designation
142:5      143:15   US Designation
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143:24     146:2     GE Designation
146:13     147:20    GE Designation
148:8      150:8     GE Designation
148:8      148:17    US Designation
150:4      150:8     US Designation
150:23     151:6     US Designation
153:5      153:8     US Designation
153:10     153:15    US Designation
155:11     158:9     GE Designation
158:11     158:23    US Designation
159:4      159:16    US Designation
160:7      161:2     GE Designation
161:3      161:15    US Designation
162:4      162:14    US Designation
164:12     166:9     GE Designation
166:23     166:25    US Designation
175:2      175:9     US Designation
175:11     175:22    GE Designation
175:23     176:1     US Designation
176:17     177:4     US Designation
181:14     181:16    US Designation
183:17     184:3     US Designation
189:9      210:18    GE Designation
190:11     191:1     US Designation
211:1      212:25    GE Designation




RICHARD GRANITO             Aug. 2, 2007
    Start      End          Party
2:1       3:9          GE Designation
7:13      7:17         GE Designation
8:4       8:09         GE Designation
8:23      9:17         GE Designation
9:13      9:20         US Designation
13:12     13:20        US Designation
13:24     14:08        GE Designation
16:13     16:17        GE Designation
16:18     17:1         US Designation
17:7      17:21        US Designation
18:24     20:17        GE Designation
24:18     24:24        US Designation
26:5      28:3         GE Designation
29:15     29:24        US Designation
30:1      31:2         US Designation
31:8      31:18        US Designation
32:12     33:18        GE Designation
33:19     35:11        US Designation
36:2      38:1         US Designation
37:18     38:14        GE Designation
38:7      39:20        US Designation
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39:8       39:23     GE Designation
40:6       40:12     US Designation
41:6       43:2      GE Designation
43:3       44:1      US Designation
44:8       45:17     GE Designation
46:8       47:23     US Designation
48:23      50:14     GE Designation
52:4       53:12     US Designation
54:8       59:12     US Designation
59:18      59:23     US Designation
62:15      64:13     US Designation
66:22      67:9      US Designation
67:13      68:3      US Designation
69:11      69:16     GE Designation
72:11      76:13     GE Designation
76:14      76:21     US Designation
77:6       78:2      US Designation
79:7       80:8      GE Designation
80:12      80:15     US Designation
81:18      82:4      US Designation
82:7       82:20     US Designation
84:3       84:22     GE Designation
85:8       86:5      US Designation
86:11      88:19     GE Designation
86:16      87:13     US Designation
88:20      89:9      US Designation
90:6       107:1     GE Designation
91:6       91:14     US Designation
96:20      96:24     US Designation
99:6       99:16     US Designation
101:7      101:15    US Designation
105:1      106:2     US Designation
107:2      108:2     US Designation
110:6      110:10    US Designation
113:18     115:14    GE Designation
116:4      121:17    GE Designation
123:2      123:10    GE Designation
125:9      126:5     US Designation
128:16     129:1     US Designation
140:22     141:9     US Designation
140:22     141:22    GE Designation
144:8      147:19    GE Designation
145:15     145:19    US Designation
154:2      154:14    US Designation
154:2      156:15    GE Designation
154:18     155:16    US Designation
157:4      157:23    US Designation
165:1      166:24    GE Designation
Errata                  GE Designation
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                                         Respectfully submitted,
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